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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

  UNITED STATES OF AMERICA,
  Plaintiff,
               v.
                                                               CRIMINAL NO. 15-462 (JAG)
  Josue Vazquez-Carrasquillo, et al.
  Defendant.

               UNITED STATES’ MOTION TO WITHDRAW AS THE
         ASSISTANT UNITED STATES ATTORNEY ASSIGNED TO THE CASE

TO THE HONORABLE COURT:

       COMES NOW, the United States of America, by and through the undersigned attorneys

and respectfully states and prays as follows:

       Assistant United States Attorney Marie Christine Amy is no longer the prosecutor

assigned to this case. It is respectfully requested that the Court accept this request to withdraw as

attorney for the United States in this particular case.

       WHEREFORE, the United States respectfully requests that this Honorable Court take

notice of the above and grant the withdrawal of Assistant United Stated Attorney Marie Christine

Amy as the attorney responsible for the prosecution of the instant case.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 5th day of June 2020.

                                                          W. STEPHEN MULDROW
                                                          United States Attorney

                                                          /s/ Marie Christine Amy
                                                          Marie Christine Amy
                                                          Assistant U.S. Attorney
                                                          USDC-PR No. G02309
                                                          U.S. Attorney’s Office
                                                          Torre Chardón, Suite 1201
                                                          350 Carlos Chardón Street
                                                          San Juan, Puerto Rico 00918
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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this date, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to counsel for

the defendant(s).


                                                   s/ Marie Christine Amy
                                                   Assistant U.S. Attorney
